                 Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 1 of 21 Page ID
                                                  #:47984

             1      JOSHUA H. LERNER, SBN 220755
                      jlerner@gibsondunn.com
             2      GIBSON, DUNN & CRUTCHER LLP
                    555 Mission Street Suite 3000
             3      San Francisco, CA 94105
                    Tel.: 415.393.8200 / Fax: 415.393.8306
             4
                    H. MARK LYON, SBN 162061
             5        mlyon@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP
             6      1881 Page Mill Road
                    Palo Alto, CA 94304-1211
             7      Tel.: 650.849.5300 / Fax: 650.849.5333
             8      BRIAN M. BUROKER, pro hac vice
                      bburoker@gibsondunn.com
             9      BRIAN K. ANDREA, pro hac vice
                      bandrea@gibsondunn.com
          10        GIBSON, DUNN & CRUTCHER LLP
                    1050 Connecticut Avenue, N.W.
          11        Washington, D.C. 20036
                    Tel.: 202.955.8500 / Fax: 202.467.0539
          12
                    [Counsel appearance continues on next page]
          13
                    Attorneys for Defendant Apple Inc.
          14
                                    UNITED STATES DISTRICT COURT
          15              CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
          16
          17        MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
          18        CERCACOR LABORATORIES, INC.,                  APPLE’S OBJECTIONS TO SPECIAL
                    a Delaware corporation,                       MASTER ORDER NO. 7
          19
                                       Plaintiffs,
                                                                  Date: May 16, 2022
          20                                                      Time: 1:30 p.m.
                          v.
          21
                    APPLE INC.,                                   Discovery Cut-Off: Aug. 12, 2022
          22        a California corporation,
                                                                  Pre-Trial Conference: Mar. 13, 2023
          23                           Defendant.                 Trial: Mar. 28, 2023
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                     APPLE’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 7
Wilmer Cutler
Pickering Hale
and Dorr LLP
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 2 of 21 Page ID
                                                  #:47985

             1      BRIAN A. ROSENTHAL, pro hac vice
                     brosenthal@gibsondunn.com
             2      GIBSON, DUNN & CRUTCHER LLP
                    200 Park Avenue
             3      New York, NY 10166-0193
                    Tel.: 212.351.2339 / Fax: 212.817.9539
             4
                    ILISSA SAMPLIN, SBN 314018
             5       isamplin@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP
             6      333 South Grand Avenue
                    Los Angeles, CA 90071-3197
             7      Tel.: 213.229.7000 / Fax: 213.229.7520
             8      ANGELIQUE KAOUNIS, SBN 209833
                     akaounis@gibsondunn.com
             9      GIBSON, DUNN & CRUTCHER LLP
                    2029 Century Park East Suite 4000
          10        Los Angeles, CA 90067
                    Tel.: 310.552.8546 / Fax: 310.552.7026
          11
                    KENNETH G. PARKER, SBN 182911
          12         Ken.parker@haynesboone.com
                    HAYNES AND BOONE, LLP
          13        660 Anton Boulevard Suite 700
                    Costa Mesa, CA 92626
          14        Tel. 650.949.3014 / Fax: 949.202.3001
          15        MARK D. SELWYN, SBN 244180
                     mark.selwyn@wilmerhale.com
          16        WILMER CUTLER PICKERING
                     HALE AND DORR LLP
          17        2600 El Camino Real, Suite 400
                    Palo Alto, CA 94306
          18        Tel.: 650.858.6000 / Fax: 650.858.6100
          19        NORA Q.E. PASSAMANECK, pro hac vice
                     nora.passamaneck@wilmerhale.com
          20        WILMER CUTLER PICKERING
                     HALE AND DORR LLP
          21        1225 Seventeenth St., Suite 2600
                    Denver, CO 80202
          22        Tel: 720.274.3152 / Fax: 720.273.3133
          23
          24
          25
          26
          27
          28
                    APPLE’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 7
Wilmer Cutler
Pickering Hale
and Dorr LLP
                                                                       CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 3 of 21 Page ID
                                                  #:47986

             1
             2                                            TABLE OF CONTENTS
             3      I.     Introduction............................................................................................. 1
             4      II.    Background............................................................................................. 1
             5             A.      Judge Early Grants Plaintiffs’ Motion to Include Tim Cook On The
                                   List Of Apple’s ESI Custodians ........................................................ 1
             6
                           B.      Apple Reviews Mr. Cook’s ESI And Produces Responsive, Non-
             7                     Privileged Documents...................................................................... 3
             8             C.      The Special Master Grants Plaintiffs’ Motion Requiring Apple To
                                   Produce All Of Mr. Cook’s Non-Privileged ESI That Hit On
             9                     Plaintiffs’ Broad Search Terms ......................................................... 4
          10               D.      Plaintiffs Reject Apple’s Compromise Offer To Produce All
                                   Documents Except For Those That Are Highly Sensitive And/Or
          11                       Have Nothing To Do With The Issues In This Case ............................. 6
          12        III.   Legal standard ......................................................................................... 7
          13        IV.    Argument ................................................................................................ 8
          14               A.      Judge Early’s September 29 Ruling Only Covers Documents That
                                   Are Responsive To Plaintiffs’ Requests For Production ........................ 9
          15
                           B.      To The Extent Responsiveness And Relevance Are Distinct
          16                       Concepts, Judge Early’s September 29 Ruling Did Not Preclude
                                   Apple From Reviewing Documents For Relevance ............................ 11
          17
                           C.      If This Court Concludes the Special Master’s Reading Of Judge
          18                       Early’s Ruling Is Correct, That Ruling Should Be Reversed................ 14
          19        V.     Conclusion ............................................................................................ 15
          20
          21
          22
          23
          24
          25
          26
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          28

Wilmer Cutler
                     APPLE’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 7
Pickering Hale
and Dorr LLP
                                                                           i               CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 4 of 21 Page ID
                                                  #:47987

             1                                        TABLE OF AUTHORITIES
             2                                                                                                        Page(s)
             3      CASES
             4      Allen v. Sybase, Inc.,
             5            468 F.3d 642 (10th Cir. 2006) ............................................................... 7

             6      BancPass, Inc. v. Highway Toll Admin., LLC,
                         2016 WL 4031417 (W.D. Tex. July 26, 2016)........................................11
             7
             8      Cabrales v. Aerotek, Inc.,
                         2018 WL 2121829 (C.D. Cal. May 8, 2018) .................................... 13, 14
             9
                    FlowRider Surf Ltd. v. Pacific Surf Designs, Inc.,
          10
                         2016 WL 6522807 (S.D. Cal. Nov. 3, 2016) ........................................... 8
          11
                    In re Lithium Ion Batteries Antitrust Litig.,
          12               2015 WL 833681 (N.D. Cal. Feb. 24, 2015)...........................................11
          13
                    InTouch Techs., Inc. v. VGO Commc’ns, Inc.,
          14             2012 WL 7783405 (C.D. Cal. Apr. 23, 2012)................................... 13, 14
          15        NFIB v. Sebelius,
          16             567 U.S. 519 (2012) ............................................................................ 9
          17        O’Donnell/Salvatori Inc. v. Microsoft Corp.,
                        339 F.R.D. 275 (W.D. Wash. 2021) .................................................. 7, 14
          18
          19        Palmer v. Cognizant Tech. Sols. Corp.,
                         2021 WL 3145982 (C.D. Cal. July 9, 2021) ....................................... 8, 11
          20
                    Phillips v. Raymond Corp.,
          21
                           213 F.R.D. 521 (N.D. Ill. 2003)............................................................14
          22
                    Schur v. L.A. Weight Loss Centers, Inc.,
          23              577 F.3d 752 (7th Cir. 2009)................................................................. 7
          24
                    Tulip Computers Int’l B.V. v. Dell Computer Corp.,
          25              2002 WL 818061 (D. Del. Apr. 30, 2002)..............................................10
          26        Wingnut Films, Ltd. v. Katja Motion Pictures Corp.,
          27             2007 WL 2758571 (C.D. Cal. Sept. 18, 2007) ........................................10
          28

Wilmer Cutler
                     APPLE’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 7
Pickering Hale
and Dorr LLP
                                                                        ii             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 5 of 21 Page ID
                                                  #:47988

             1      Youngevity Int’l Corp. v. Smith,
             2           2017 WL 6541106 (S.D. Cal. Dec. 21, 2017) .......................................... 8

             3                             STATUTES, RULES, AND REGULATIONS
             4      Federal Rule of Civil Procedure 26 .............................................................. 5, 7
             5      Federal Rule of Civil Procedure 53 ................................................................. 7
             6
                                                OTHER AUTHORITIES
             7
                    Steven S. Gensler & Lumen N. Mulligan, Federal Rules of Civil
             8
                    Procedure, Rules and Commentary: Rule 34 (Feb. 2022 update) ........................ 8
             9
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Wilmer Cutler
                     APPLE’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 7
Pickering Hale
and Dorr LLP
                                                                       iii            CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 6 of 21 Page ID
                                 #:47989
Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 7 of 21 Page ID
                                 #:47990
Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 8 of 21 Page ID
                                 #:47991
Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 9 of 21 Page ID
                                 #:47992
                 Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 10 of 21 Page ID
                                                   #:47993

             1            The Special Master initially rejected Plaintiffs’ arguments. In his tentative ruling,
             2      the Special Master recognized that Federal Rule of Civil Procedure 26(b) limits
             3      discovery to matters that are “relevant to any party’s claim or defense and proportional
             4      to the needs of the case.” Ex. 22 at 3. Plaintiffs’ position, the Special Master observed,
             5      boiled down to the assertion that “in a case with millions of pages already produced[,]
             6      each side should not be filtering for threshold relevance but instead moving ahead in
             7      producing every single non-privileged document that hits on a search term, even where
             8      it was a document hit based on ‘references to people with the first or last name Massimo,
             9      a street name in Rome, a clothing brand, [or] a restaurant.’” Id. The Special Master
          10        concluded that this approach was untenable, explaining that “[s]ome basic trust is
          11        required to engage in the litigation process” and “[t]he Special Master can only order so
          12        many sworn declarations and play out so many scenarios where trial tactics could
          13        address the discovery disputes now being raised pre-trial.” Id.
          14              At the hearing, Plaintiffs contested the tentative ruling. They argued that “the
          15        context of this motion is really enforcing what Judge Early has done” and that “[t]he
          16        question here, from Judge Early’s perspective, is what’s responsive.” Ex. 23 at 8-9;
          17        accord id. at 15 (Plaintiffs’ counsel stating that “I wish the literal language of Judge
          18        Early’s order would be enforced”). Plaintiffs also (contradictorily) argued both that (1)
          19        Judge Early’s September 29 ruling “said nothing about relevance,” and (2) “Judge Early
          20        disagreed with Apple’s view of relevance” and “under the unique procedural posture
          21        we’re in[, Apple] already argued about relevance to Judge Early and Judge Early didn’t
          22        believe them.” Id. at 10-11.
          23              The Special Master changed course following oral argument and held that Apple
          24        was required to “produce all [of Mr. Cook’s] ESI identified using the search terms stated
          25        in Judge Early’s September 29, 2021 Order.” Dkt. 641 at 1-3 (emphasis added). The
          26        final order “emphasize[d the Special Master’s] concerns … regarding ESI data dumps
          27        and notions of basic trust in complex litigations,” and acknowledged Judge Early’s
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Wilmer Cutler
                     APPLE’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 7
Pickering Hale
and Dorr LLP
                                                                5           CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 11 of 21 Page ID
                                  #:47994
Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 12 of 21 Page ID
                                  #:47995
Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 13 of 21 Page ID
                                  #:47996
                 Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 14 of 21 Page ID
                                                   #:47997

             1      fundamental legal principle that a document is not presumptively relevant simply
             2      because it includes an agreed-upon search term. Finally, even if Judge Early’s ruling
             3      could be read as expansively as the Special Master believed, this Court should exercise
             4      its authority to reverse that ruling—because it is in serious tension with the Federal
             5      Rules, the idea that Apple should produce all non-privileged documents was not briefed,
             6      and it would obviate a number of carefully tailored and more specific discovery rulings
             7      on issues like Mr. O’Reilly’s compensation.
             8            A.     Judge Early’s September 29 Ruling Only Covers Documents That Are
             9                   Responsive To Plaintiffs’ Requests For Production
          10              Judge Early’s September 29 ruling is clear: It required Apple to produce only
          11        those documents that (1) hit on the agreed-upon search terms and (2) are “responsive
          12        and non-privileged.” Dkt. 502 at 2 (emphasis added). The Special Master’s order
          13        quoted this language in passing, Dkt. 641 at 2, but gave it no effect.
          14              The Special Master provided no explanation for this aspect of his ruling beyond
          15        his vague statement that Judge Early did not “intend[]” to restrict Apple’s production
          16        to responsive documents. Dkt. 641 at 3. The text of Judge Early’s order, however, is
          17        the best indication of his intent, cf. NFIB v. Sebelius, 567 U.S. 519, 544 (2012) (“[T]he
          18        best evidence of Congress’s intent is the statutory text.”), and even Plaintiffs’ counsel
          19        merely urged the Special Master to enforce “the literal language of Judge Early’s
          20        order,” Ex. 23 at 15. In any event, Judge Early clearly contemplated that Apple would
          21        perform some kind of review of the documents swept up in the search. During oral
          22        argument, Judge Early raised no concerns when Apple noted that it would need extra
          23        time for production to allow for “additional review of Mr. Cook’s emails, just given
          24        the importance”—indeed, Judge Early encouraged the parties to meet and confer on
          25        the precise timing of production. See Ex. 16 at 51.
          26              The Special Master’s failure to adhere to the responsiveness limitation in Judge
          27        Early’s September 29 ruling was significant. Plaintiffs identified only a handful of
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Wilmer Cutler
                     APPLE’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 7
Pickering Hale
and Dorr LLP
                                                                9           CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 15 of 21 Page ID
                                  #:47998
Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 16 of 21 Page ID
                                  #:47999
                 Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 17 of 21 Page ID
                                                   #:48000

             1            Nothing in Judge Early’s September 29 ruling addresses the relevance question.
             2      This makes sense because the question was not directly in front of the court.
             3      Plaintiffs’ original motion merely requested that Apple include Mr. Cook on the list of
             4      ESI custodians. See supra pp. 1-2. While Judge Early initially denied this request
             5      because he concluded Mr. Cook did not have any relevant documents, Judge Early
             6      reversed course on reconsideration based on his finding that Mr. Cook had relevant
             7      information in his email account “at least one time.” Supra pp. 1-3; see also Dkt. 641
             8      at 2 (Special Master’s ruling noting that “a [relevant] document was … unearthed”
             9      (emphasis added)). Judge Early did not state that all of Mr. Cook’s ESI was per se
          10        relevant. He had no occasion to do so. Judge Early simply held that the new
          11        document Plaintiffs flagged showed Mr. Cook’s email account could contain relevant
          12        information and that therefore Mr. Cook was an appropriate custodian. Supra pp. 1-3.
          13              The Special Master wrongly relied on this fairly narrow ruling to craft a form of
          14        relief that is unique to Mr. Cook’s ESI. As a result of the ruling under review, Mr.
          15        Cook is the only custodian for which Apple must produce all documents that hit on
          16        Plaintiffs’ search terms—no matter how private or irrelevant. That cannot be what
          17        Judge Early meant to do on the basis of one email.
          18              The Special Master’s order erroneously relies on Plaintiffs’ assertion that
          19        “certain colloquies that …took place” during the motion for reconsideration hearing
          20        that showed that Judge Early did not intend to permit Apple to review the search term
          21        hits for relevance. Dkt. 641 at 3. The only oral argument passages cited in Plaintiffs’
          22        briefing, however, involved whether the specific email at issue in the reconsideration
          23        motion was relevant. See Ex. 21 at 1 (citing Ex. 16 at 12-26, 29, 31). Plaintiffs’
          24        counsel relied on the same passages during the oral argument in front of the Special
          25        Master, making the sweeping assertion that Judge Early “disagreed with Apple’s view
          26        of relevance” as a general matter because Apple’s counsel had tried to convince “Judge
          27        Early that a document was not relevant and Judge Early wasn’t having any of it.” Ex.
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Wilmer Cutler
                     APPLE’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 7
Pickering Hale
and Dorr LLP
                                                              12           CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 18 of 21 Page ID
                                  #:48001
                 Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 19 of 21 Page ID
                                                   #:48002

             1      withholding of irrelevant documents, is appropriate.” O’Donnell, 339 F.R.D. at 276-
             2      277; see supra pp. 7-8. Rather, Cabrales merely stated (without analysis) that a
             3      wrongful termination plaintiff who did not dispute the relevance of a request for
             4      production was required to turn over “all responsive documents, not merely those she
             5      believes are relevant.” 2018 WL 2121829, at *4.
             6            Intouch is even further afield, as it dealt with a situation where the defendant
             7      failed to provide a “complete copy of its source code.” 2012 WL 7783405 at *1. The
             8      Intouch court rejected this approach, noting that inter alia the plaintiff’s ability “to
             9      properly understand the directly relevant portions of the source code may depend on
          10        their ability to review other portions … to place the directly relevant portions of the
          11        source code in context.” Id. The same concerns do not apply here.
          12              C.     If This Court Concludes the Special Master’s Reading Of Judge
          13                     Early’s Ruling Is Correct, That Ruling Should Be Reversed
          14              To the extent that the Special Master’s reading of Judge Early’s ruling is plausible,
          15        this Court should reverse the magistrate judge’s decision.
          16              It is well-established that this Court retains the authority to reconsider such a
          17        ruling at any point. See supra p. 7. Indeed, because this Court “‘is free at any time to
          18        reexamine such interlocutory discovery … rulings of his or her own … it would turn the
          19        jurisprudential system on its head to ascribe irrevocabl[e] finality … to any unreviewed
          20        discovery … rulings by a Magistrate Judge.’” 12 Wright & Miller, Federal Practice &
          21        Procedure § 3069 (3d ed.) (quoting with approval Phillips v. Raymond Corp., 213
          22        F.R.D. 521, 525 (N.D. Ill. 2003)). For all the reasons discussed above, Judge Early’s
          23        ruling (as interpreted by the Special Master) cannot be squared with the principles of
          24        relevance and proportionality that undergird the Federal Rules. Supra pp. 7-14.
          25              Moreover, the Special Master’s reading of Judge Early’s ruling is troubling for
          26        two additional reasons. First, if left in place, the Special Master’s order would sub
          27        silentio overrule at least two more specific discovery decisions the Special Master has
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Wilmer Cutler
                     APPLE’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 7
Pickering Hale
and Dorr LLP
                                                                14           CASE NO. 8:20-cv-00048-JVS (JDEX)
Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 20 of 21 Page ID
                                  #:48003
                 Case 8:20-cv-00048-JVS-JDE Document 654-1 Filed 04/15/22 Page 21 of 21 Page ID
                                                   #:48004

             1      Dated: April 15, 2022                 Respectfully submitted,
             2
                                                          JOSHUA H. LERNER
             3                                            H. MARK LYON
             4                                            BRIAN M. BUROKER
                                                          BRIAN A. ROSENTHAL
             5                                            ILISSA SAMPLIN
             6                                            ANGELIQUE KAOUNIS
                                                          BRIAN ANDREA
             7                                            GIBSON, DUNN & CRUTCHER LLP
             8
                                                          KENNETH G. PARKER
             9                                            HAYNES AND BOONE, LLP
          10
                                                          MARK D. SELWYN
          11                                              NORA Q.E. PASSAMANECK
          12                                              WILMER CUTLER PICKERING HALE AND
                                                          DORR LLP
          13
          14
                                                          By: /s/ Mark D. Selwyn
          15                                                  Mark D. Selwyn
          16
          17                                              Attorneys for Defendant Apple Inc.
          18
          19
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Wilmer Cutler
                     APPLE’S OBJECTIONS TO SPECIAL MASTER ORDER NO. 7
Pickering Hale
and Dorr LLP
                                                              16         CASE NO. 8:20-cv-00048-JVS (JDEX)
